                      UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE


 ALLEN MARK AJAN                                       )
          Petitioner,                                  )
                                                       )
 v.                                                    )        NO. 2:02-CR-71
                                                       )        (NO: 2:06-CV-247)
 UNITED STATES OF AMERICA                              )        Judge Greer
           Respondent                                  )


                                               ORDER

        On September 2, 2009, a memorandum opinion, order, and amended judgment were entered

 in this case which disposed of all pending issues in the case. [See Docs. 362, 363. 364]. An

 “Objection To/Appeal From Magistrates Report And Recommendation And/Or Order” filed by

 petitioner has now been docketed. [Doc. 365]. In that filing, petitioner objects to the order of the

 Magistrate Judge on August 18, 2009, denying petitioner’s motion to supplement his § 2255 motion.

        In his motion to supplement, petitioner cited Arizona v. Gant, 129 S.Ct. 1210 (2009) in

 support of his previously raised claim that the search of his vehicle was illegal. Arizona v. Gant was

 considered by the Court at the time of its earlier decision and petitioner’s motion to supplement was

 referred to in the Court’s September 2, 2009, Memorandum Opinion. [See Doc. 362, p.7]. The

 petitioner’s objection is OVERRULED and the order of the Magistrate Judge [Doc. 359] is

 ADOPTED and AFFIRMED.

        So ordered.

        ENTER:

                                                                s/J. RONNIE GREER
                                                           UNITED STATES DISTRICT JUDGE




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